Case 2:05-cv-02489-SHI\/|-dkv Document 10 Filed 08/15/05 Page 1 of 2 Page|D 1

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v. cAsE No. nez-2439 - /\U/

C|TY OF WEST MEMPH|S, et a|,
Defendants
ORDER EXTEND|NG TlME TO FlLE§|_ESPONSE

Upon motion of the Defendants, City of West Memphis, City of West Memphis
Po|ice Department, Robert Paudert, in his personal and official capacity as Chief of the
West Memphis Po|ice Department, Officer Vance P|umhoff, in his personal and official
capacity as a police officer of the West Memphis Po|ice Department, Ofticer John Bryan
Gardner, in his personal and official capacity as a police officer of the West Memphis
Po|ice Department, Ofiicer Troy Gaite||i, in his personal and official capacity as a police
officer of the West Memphis Po|ice Departmentl and |V|ayor Wi||iam H. Johnson, and for
good cause appearing,

lt is hereby Ordered that the time of Defendants to answer or otherwise move
with reference to Plaintiffs‘ Comp|aint is extended to and including September 12, 2005.

lT lS SO ORDERED.

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UN|TED STATES MAGISTRATE

Tiiis document entered on the docket sheet in compliance
with Ruie 56 and/or 79{&) FRCP on ' '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02489 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

